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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

In re:                                                       §
                                                             §
WINGSPAN PORTFOLIO                                           §             Case No. 15-41255
ADVISORS, LLC,                                               §
                                                             §             (Chapter 7)
                           Debtor.                           §

                  MOTION TO COMPROMISE CONTROVERSY
   WITH EARL S. “DUKE” OLRICH, II, TRUSTEE OF THE OLRICH LIVING TRUST

         NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
         WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
         STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
         FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
         DATE OF SERVICE UNLESS THE COURT SHORTENS OR EXTENDS
         THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS
         TIMELY SERVED AND FILED, THIS PLEADING SHALL BE DEEMED TO
         BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
         GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND
         SERVED IN A TIMELY MANNER, THE COURT WILL THEREAFTER SET
         A HEARING. THE COURT RESERVES THE RIGHT TO SET A HEARING
         ON ANY MATTER.

         Michelle H. Chow, Trustee files this Motion to Compromise Controversy with Earl S. “Duke”

Olrich, II, Trustee of the Olrich Living Trust (“Motion”) and would respectfully show the Court as

follows:

         1.      On July 13, 2015 (the “Petition Date”) Wingspan Portfolio Advisors, LLC filed a

voluntary petition under Chapter 7.

         2.      Michelle H. Chow is the duly appointed Trustee.

         3.      Prior to the Petition Date, Debtor paid the sum of $330,000 to Earl S. “Duke” Olrich,

II, Trustee of the Olrich Living Trust (“Olrich”) on or about July 18, 2014, and paid the sum of $330,000

to Olrich on or about August 15, 2014. The Trustee contends that each of these payments were made


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pursuant to usurious loans in violation of Chapter 305 of the Texas Finance Code. Olrich denies such

claims. After extensive negotiation, the Trustee and Olrich (without admitting any liability whatsoever)

have reached an agreement whereby Olrich will pay $50,000.00 to the Trustee in exchange for mutual

releases of any and all claims.

        4.      Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that “[o]n

motion by the trustee and after notice and a hearing, the court may approve a compromise and

settlement.”

        5.      In deciding whether to approve a proposed settlement agreement or compromise of

controversy, a bankruptcy court should consider the following factors:

                a.       the probability of success on the merits and the resolution of the dispute;

                b.       the complexity of the litigation being settled;

                c.       the expense, inconvenience and delay associated with litigating the dispute; and

                d.       the paramount interests of creditors.

Foster Mortgage Corp. v. Connecticut General Life Ins. Co. (In re Foster Mortgage Corp.), 68 F.3d 914

(5th Cir. 1996); Texas Extrusion Corp. v. Lockheed Corp. (In re Texas Extrusion Corp.), 844 F.2d 1142,

1158-59 (5th Cir. 1988), cert. denied, 105 S.Ct. 31 (1989); U.S. v. Aweco, Inc. (In re Aweco, Inc.), 752

F.2d 293, 298 (5th Cir. 1984), cert. denied, 469 U.S. 880 (1984).

        6.      While it is necessary for the proponent of a compromise to set forth the factual and legal

basis for the compromise so the court can make an intelligent and informed evaluation of the proposed

settlement, it is not incumbent upon the proponent to present a mini-trial or a full evidentiary hearing.

Texas Extrusion, 844 F.2d at 1158-59; Aweco, 725 F.2d at 298.

        7.      In order to avoid the expense and uncertainty of litigation, the Trustee prays that the

settlement be approved as being in the best interest of the estate and the creditors.


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        WHEREFORE, PREMISES CONSIDERED the Trustee prays that the Court approve the

compromise and for such other and further relief as she may show herself justly entitled.

                                                       Respectfully submitted,

                                                       SINGER & LEVICK, P.C.


                                                       By:       /s/Todd A. Hoodenpyle
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                                                       ATTORNEYS FOR
                                                       MICHELLE H. CHOW, TRUSTEE


                                       CERTIFICATE OF SERVICE


        I hereby certify that Notice of this document will be electronically mailed to the parties that are
registered or otherwise entitled to receive electronic notices in this case pursuant to the Electronic Filing
Procedures in this District and to all others listed on the attached service list via first class mail, postage
prepaid on this 17th day of October 2017.


                                                                 /s/Todd A. Hoodenpyle
                                                                 Todd A. Hoodenpyle




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